B 2100A (Form 2100A) (12/15)


                           UNITED STATES BANKRUPTCY COURT
                         RRR




                                NORTHERN DISTRICT OF ILLINOIS
 In re JOHN TAYLOR                                                             Case No. 19-04837



                    TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.



 Quantum3 Group LLC as agent for Wollemi Acquisitions LLC                       SANTANDER CONSUMER USA
 Name of Transferee                                                             Name of Transferor

 Name and Address where notices to                                              Court Claim # (if known): 3
 transferee should be sent:                                                     Amount of Claim: 15,666.34
 Quantum3 Group LLC as agent for                                                Date Claim Filed: 03/13/2019
 Wollemi Acquisitions LLC
 PO Box 788
 Kirkland, WA 98083-0788
 Phone: (425) 242-7100                                                          Phone:

 Last Four Digits of Acct #: 5877                                               Last Four Digits of Acct #: 5877

 Name and Address where transferee
 payments should be sent (if different from
 above):




Phone:
Last Four Digits of Acct #:

I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.


 By: /s/ Michael Sherrill                                                       Date: 10/23/2019
 Transferee/Transferee’s Agent



Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
